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                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,                              )
                                                       )
               Plaintiff,                              )
                                                       )
       vs.                                             )             NO. CR 18-1254 RB
                                                       )
ALONSO P. GRADO, JR., et al.,                          )
                                                       )
               Defendants.                             )


                     UNITED STATES= NOTICE OF RELATED CASES

       The United States of America notifies the Court that the subject matter in the above-

captioned case is related to the subject matter in the following cases:

       1.      US v. Jose I. Caro, et al., CR 18-1251 RB;
       2.      US v. Fidel Gonzales, et al., CR 18-1252 RB;
       3.      US v. Martin Montelongo-Salas, et al., CR 18-1253 RB;
       4.      US v. Savannah J. Ordonez, et al., CR 18-1255 RB; and
       5.      US v. Suzanne Reynolds, No. 18-mj-1415.

       The United States hereby represents that the theories of prosecution, facts, evidence and

witnesses in the listed cases are substantially common to one another.               The United States

respectfully suggests that all of the listed cases should be assigned to a single United States District

Judge of this Court in the interest of judicial economy. Moreover, assignment of all of the listed

cases to a single United States District Judge of this Court will minimize the risk of disparate

treatment of similarly situated criminal defendants.

                                                           Respectfully submitted,

                                                           JOHN C. ANDERSON
                                                           United States Attorney


                                                           Electronically Filed 4/26/18
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